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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF FLORIDA

NICHOLAS FORD and
ALONZO HAWKINS,
                                                            CASE NO.: 3:24-cv-00404-MCR
                Plaintiffs,

v.

SOUTHERN ROAD & BRIDGE, LLC,

            Defendant.
__________________________________/

 PLAINTIFF ALONZO HAWKINS’ RESPONSES TO DEFENDANT’S FIRST SET OF
          INTERROGATORIES TO PLAINTIFF ALONZO HAWKINS

         Plaintiff, ALONZO HAWKINS (“Plaintiff” and/or “Mr. Hawkins”), by and through his

undersigned counsel, and pursuant to Federal Rule of Civil Procedure 33, hereby serves the

following responses to Defendant, SOUTHERN ROAD & BRIDGE, LLC’s (“Defendant” and/or

“SRB”), First Set of Interrogatories to Plaintiff Alonzo Hawkins.


         Dated: Miami, Florida                      DEREK SMITH LAW GROUP, PLLC
                February 17, 2025,                  Counsel for Plaintiffs


                                                    /s/ Daniel J. Barroukh
                                                    Daniel J. Barroukh, Esq.
                                                    Florida Bar No. 1049271
                                                    Derek Smith Law Group, PLLC
                                                    520 Brickell Key Drive, Suite O-301
                                                    Miami, FL 33131
                                                    Tel: (305) 946-1884
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                                                    danielb@dereksmithlaw.com




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  SPECIFIC RESPONSES TO DEFENDANT’S FIRST SET OF INTERROGATORIES

INTERROGATORY NO. 1:
List the full names, titles, addresses, and telephone numbers of any persons who have provided
you with information or assistance in answering these Interrogatories.

       RESPONSE: Plaintiff answered these interrogatories with the assistance of counsel,
       Daniel J. Barroukh, Esq.


INTERROGATORY NO. 2:
Identify yourself fully, giving your full name, all former names (and when you were known by
those names), age, date and place of birth, residence addresses for the last ten (10) years (including
the dates you lived at each address), and your current business address.

       RESPONSE: Plaintiff objects to this interrogatory on the grounds that it is overbroad
       and seeks information not relevant to the claims or defenses of the parties. Plaintiff
       further objects to this interrogatory on the grounds that it is improperly compound
       in including multiple unrelated subparts. Notwithstanding these objections and
       without waiving them, Plaintiff has limited his response to his name, date and place
       of birth, age, and addresses concurrent with and subsequent to his employment with
       Defendant, and states as follows: Plaintiff’s full name is Alonzo Hawkins. Plaintiff
       does not have any former names. Plaintiff was born on                               in
       Mansfield, Texas, and he is currently 34 years old. From a certain time before the
       start of his employment with Defendant until approximately July 2023, Plaintiff’s
       address was                                            . Between approximately July
       2023 and approximately October 2024, Plaintiff’s address was
                                          . As of approximately October 2024, Plaintiff’s
       address is                                             .


INTERROGATORY NO. 3:
List the name of any current spouse, if applicable, all former spouses, the date and place of each
marriage, date and place of each divorce, along with the state, county, and case number of any
divorce, separation, or related proceedings.

       RESPONSE: Plaintiff objects to this interrogatory on the grounds that it is overbroad
       and seeks information not relevant to the claims or defenses of the parties. Plaintiff
       further objects to this interrogatory on the grounds that it is improperly compound
       in including multiple unrelated subparts. Notwithstanding these objections and
       without waiving them, Plaintiff states that he is single.


INTERROGATORY NO. 4:
Please list your educational background and all professional certifications providing the name and
address for each school, college, university, or other institution of learning or training which you



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have attended, listing the dates of attendance, grades or levels completed, and degrees or
certificates received.

       RESPONSE: Plaintiff completed high school at Mansfield High School in 2008.
       Plaintiff holds certifications in computer numerical control (CNC), welding, traffic
       control, heavy equipment operation, and gas and petroleum drilling.


INTERROGATORY NO. 5:
Identify the names, addresses, phone numbers, rates of pay, positions held, immediate supervisor’s
name(s), and dates of employment, along with the reason(s) for termination of said employment,
for every employer with whom you were employed during the ten (10) year period prior to your
employment with Defendant.

       RESPONSE: Plaintiff objects to this interrogatory on the grounds that it is overbroad
       to the extent it seeks information unrelated to the Plaintiff’s efforts to mitigate and/or
       Plaintiff’s actual mitigation, and to the extent that it seeks information about
       Plaintiff’s employment prior to working for Defendant. Notwithstanding these
       objections and without waiving them, Plaintiff understands the non-objectionable
       portion of this interrogatory to seek the identification of his employers concurrent
       with and subsequent to his employment with Defendant, and states as follows:

           x   Employer Name: The Rios Group Inc.
               Address: Fort Worth, Texas
               Supervisor’s Name: Craig Miller
               Dates of Employment: Approx. March 18, 2024 – Approx. November 21, 2024
               Position: HVAC Technician
               Rate of Pay: $17.00 per hour
               Reason for Separation: Resignation

           x   Employer Name: Energy Construction Solutions Inc.
               Address: 310 Congress St., Emporia, KS 66523
               Supervisor’s Name: Dakota (LNU)
               Dates of Employment: Approx. November 12, 2024 – Approx. Dec. 3, 2024
               Position: HVAC Helper
               Rate of Pay: $28.00 per hour
               Reason for Separation: Layoff

           x   Employer Name: J.B. Hunt Transport Inc.
               Address: 5701 W. Kiest Boulevard, Dallas, TX
               Supervisor’s Name: James (LNU)
               Dates of Employment: Approx. January 13, 2025 - Present
               Position: Driver
               Rate of Pay: $27.50 per hour
               Reason for Separation: N/A




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INTERROGATORY NO. 6:
Describe in detail every attempt, either formally or informally, by you to find either full-time or
part-time employment subsequent to your employment with Defendant, providing for each such
employer that you made application, the name, address and phone number, the date on which you
applied to each such employer, and the result of each such application.

       RESPONSE: After the unlawful termination of his employment with Defendant,
       Plaintiff mitigated his damages by diligently seeking and securing new employment
       opportunities. For additional information regarding Plaintiff’s mitigation efforts,
       Plaintiff directs Defendant to the documents produced by Plaintiff in response to
       Request No. 6 of Defendant’s First Requests for Production.


INTERROGATORY NO. 7:
Please identify specifically every source of income of any description received by you or accruing
to you since your employment with Defendant began through present (including, but not limited
to, wages or other compensation, unemployment compensation, workers’ compensation, social
security or other similar payments, benefits or disability benefits), and with respect to each such
source of income, state the total amount you received or to which you became entitled and the
inclusive dates on which you received the stated income.

       RESPONSE: Plaintiff objects to this interrogatory on the grounds that it is unduly
       burdensome and overbroad in seeking Plaintiff’s income information unrelated to
       Plaintiff’s mitigation efforts. Plaintiff further objects to this interrogatory on the
       grounds that it is not proportional to the needs of the case, and seeks information that
       is not relevant to the claims and defenses of the parties. Additionally, Plaintiff objects
       to this interrogatory on the grounds that it invades Plaintiff’s right to privacy
       protected by the Florida Constitution in requesting information regarding his
       personal and confidential financial records.

       Notwithstanding these objections and without waiving them, Plaintiff understands
       the non-objectionable portion of this interrogatory to seek information regarding
       Plaintiff’s mitigation efforts and income derived from Plaintiff’s employment during
       and subsequent to his employment with Defendant, and in response, directs
       Defendant to the documents produced by Plaintiff in response to Request No. 9 of
       Defendant’s First Requests for Production, for records of Plaintiff’s income.

       Plaintiff reserves the right to amend, supplement, or modify this response, as
       additional investigation and discovery is ongoing.


INTERROGATORY NO. 8:
State whether you have been employed by or contracted to perform services for any person or
entity (other than the Defendant) or self-employed since your employment with Defendant ended,
and with respect to any such employment, identify the name, address and phone number of each



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employer (if self-employed, also provide the nature of the business and each person/entity for
whom you have provided services); the dates of your employment; the positions held; the hourly
or weekly rate of pay you received and the date and amount of any increase in that rate; the total
amount of wages/commissions earned from each such employer or self-employment through the
date of your response; the employee benefits available to you (at your cost or otherwise) for each
such employer; the reason for the termination or conclusion of any such employment; and identify
any documents upon which you relied in answering or which relate to this Interrogatory.

        RESPONSE: Plaintiff has been employed by various entities, other than Defendant,
        since Defendant’s unlawful termination of his employment, and he directs Defendant
        to his response to Interrogatory No. 5 and to the documents produced by Plaintiff in
        response to Request No. 7 of Defendant’s First Requests for Production, for
        additional responsive information.


INTERROGATORY NO. 9:

State whether you received any medical treatment or medical care, including any psychiatric or
psychological treatment or counseling, because of the incidents which are the subject of this
litigation. If the answer is in the affirmative, describe in detail the nature of such care and treatment
received; the name and address of any hospital, clinic, or other institutions to which you were
admitted for such care and treatment, and the dates of treatment; the name, telephone number and
address of any doctor or healthcare professional by whom you were examined or treated; and the
diagnosis and prognosis rendered by any such doctor or healthcare professional as a result of any
such examination or treatment.

        RESPONSE: Plaintiff has received no medical treatment or medical care, including
        any psychiatric or psychological treatment or counseling, because of the incidents
        which are the subject of this litigation.


INTERROGATORY NO. 10:
Please list the names, business addresses and telephone numbers of all medical doctors by whom,
and all hospitals at which, you have been examined and/or treated in the past ten (10) years, along
with the condition(s) for which you were treated and dates of treatment. Please also indicate any
treatment that was provided as a result of any accident or injury caused by a third party, providing
circumstances for each injury.

        RESPONSE: Plaintiff objects to this interrogatory on the grounds that it is
        overbroad, unduly invasive, and violates his right to privacy in requesting his
        privileged and confidential medical records to the extent it requests information
        concerning Plaintiff’s medical treatment unrelated to his employment with
        Defendant, his claims against the Defendant, or his emotional distress damages.




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INTERROGATORY NO. 11:
State whether you or any attorney or representative on your behalf has spoken with any person
concerning the facts of this case or the matters alleged in your pleadings, including whether a
written statement, report, memoranda or recording was made or obtained. If your answer is in the
affirmative, separately identify each individual, along with the author of each such statement,
report, memorandum or recording; the person or persons to whom the statement, report,
memorandum or recording was issued, distributed or otherwise provided; the present location and
custodian of each such statement, report, memorandum or recording; and state the date each such
statement, report, memorandum or recording was prepared.

       RESPONSE: Plaintiff objects to this interrogatory on the grounds that it is unduly
       burdensome, overbroad, and not properly limited in time and scope, as this
       interrogatory could be reasonably interpreted, for example, to include information
       regarding communications with any individual who was simply aware of the fact of
       Plaintiff’s employment with the Defendant.

       Notwithstanding these objections and without waiving them, Plaintiff states that
       Plaintiff’s attorney spoke with Dezmond Jones on Plaintiff’s behalf concerning the
       facts of this case or the matters alleged in the Plaintiff’s pleadings. Mr. Jones provided
       a written statement, dated November 25, 2024, to Derek Smith Law Group, PLLC,
       custodian of the statement and in whose office located at 520 Brickell Key Drive, Suite
       O-301, Miami, FL 33131, the statement is electronically stored. Plaintiff directs
       Defendant to a true and correct copy of Mr. Jones’ statement produced by Plaintiff
       in response to Request No. 10 of Defendant’s First Request for Production.

       In addition, Plaintiff spoke with Amanda Claborn concerning the facts of this case or
       the matters alleged in his pleadings. To the best of Plaintiff’s knowledge and belief,
       no written statement has been made by or obtained by Plaintiff or Plaintiff’s counsel
       from Amanda Claborn concerning the facts of this case or the matters alleged in the
       Plaintiff’s pleadings.


INTERROGATORY NO. 12:
Identify each person who has contacted you or any attorney or representative of yours concerning
this action or its subject matter, or who has been contacted by you, or any attorney or representative
of yours, concerning this action or its subject matter.

       RESPONSE: Plaintiff objects to this interrogatory on the grounds that it is not
       properly limited in time and scope. Notwithstanding this objection and without
       waiving it, Plaintiff identifies Dezmond Jones.


INTERROGATORY NO. 13:
Separately identify each and every person who is known or believed by you to have witnessed the
events and/or have other direct knowledge of any facts or material upon which you base the
allegations contained in your Complaint, and for each such person, summarize the nature and



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substance of their knowledge, including a summary of the information and/or events to which you
believe each person has firsthand knowledge or witnessed firsthand.

       RESPONSE: Plaintiff has identified individuals believed to have witnessed the events
       and/or have other direct knowledge of any facts or material upon which Plaintiff has
       based the allegations contained in his Complaint:

          x   Alonzo Hawkins, Plaintiff

              Mr. Hawkins has knowledge regarding Plaintiffs’ employment with
              Defendant; the claims and allegations made in the Complaint and throughout
              the agency proceeding; and the emotional toll the Defendant’s discriminatory
              treatment took on Mr. Ford during and after his employment.

          x   Nicholas Ford, Plaintiff

              Mr. Ford has knowledge regarding Plaintiffs’ employment with Defendant;
              the claims and allegations made in the Complaint and throughout the agency
              proceeding; and the emotional toll the Defendant’s discriminatory treatment
              took on Mr. Ford during and after his employment.

          x   Corporate Representative of Southern Road & Bridge, LLC, Defendant

              Defendant Southern Road & Bridge, LLC’s Corporate Representative likely
              has knowledge regarding Plaintiffs’ employment, Plaintiffs’ claims alleged in
              the Complaint, and treatment of similarly situated employees.

          x   Ryan Witt

              Ryan Witt likely has knowledge regarding Plaintiffs’ employment, Plain-tiffs’
              claims alleged in the Complaint, and treatment of similarly situated
              employees.

          x   George Pappas

              George Pappas likely has knowledge regarding Plaintiffs’ employment,
              Plaintiffs’ claims alleged in the Complaint, and treatment of similarly situated
              employees.

          x   Isaac Ruiz a/k/a Esequiel Ruiz

              Isaac Ruiz a/k/a Esequiel Ruiz likely has knowledge regarding Plaintiffs’
              employment, Plaintiffs’ claims alleged in the Complaint, and treatment of
              similarly situated employees.



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      x   Fidencio Rayos

          Fidencio Rayos likely has knowledge regarding Plaintiffs’ employment,
          Plaintiffs’ claims alleged in the Complaint, and treatment of similarly situated
          employees.

      x   Jose (LNU) a/k/a Joe Joe

          Jose (LNU) likely has knowledge regarding Plaintiffs’ employment, Plaintiffs’
          claims alleged in the Complaint, and treatment of similarly situated
          employees.

      x   Carlos Valadez

          Carlos Valadez likely has knowledge regarding Plaintiffs’ employment,
          Plaintiffs’ claims alleged in the Complaint, and treatment of similarly situated
          employees.

      x   Alfredo Baguer-Villa

          Alfredo Baguer-Villa likely has knowledge regarding Plaintiffs’ employment,
          Plaintiffs’ claims alleged in the Complaint, and treatment of similarly situated
          employees.

      x   Joaquin (LNU)

          Joaquin (LNU) likely has knowledge regarding Plaintiffs’ employment,
          Plaintiffs’ claims alleged in the Complaint, and treatment of similarly situated
          employees.

      x   Dezmond Jones

          Dezmond Jones likely has knowledge regarding Plaintiffs’ employment,
          Plaintiffs’ claims alleged in the Complaint, Defendant’s discriminatory
          treatment of Plaintiffs and/or other Black employees, the discriminatory work
          conditions under which Plaintiffs labored, Defendant’s safety violations, and
          treatment of similarly situated employees.

      x   Cadden Coats

          Cadden Coats likely has knowledge regarding Plaintiffs’ employment,
          Plaintiffs’ claims alleged in the Complaint, Defendant’s discriminatory
          treatment of Plaintiffs and/or other Black employees, the discriminatory work
          conditions under which Plaintiffs labored, Defendant’s safety violations, and
          treatment of similarly situated employees.



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           x   Lonnie Vickery

               Lonnie Vickery likely has knowledge regarding Plaintiffs’ employment,
               Defendant’s discriminatory treatment of Plaintiffs and/or other Black
               employees, the discriminatory work conditions under which Plaintiffs labored,
               and Defendant’s safety violations.

           x   Mario Ramirez

               Mario Ramirez likely has knowledge regarding Plaintiffs’ employment,
               Defendant’s discriminatory treatment of Plaintiffs and/or other Black
               employees, the discriminatory work conditions under which Plaintiffs labored,
               and Defendant’s safety violations.

           x   Amanda Claborn

               Amanda Claborn likely has knowledge regarding Plaintiff Hawkins’
               employment and Plaintiff Hawkins’ emotional distress and damages incurred.


INTERROGATORY NO. 14:
Itemize and identify each item of expense or damage that you claim to have incurred or suffered
as a result of the incidents described in the Complaint, specifying separately the nature of the
damage(s), the amount of the damage, the factual bases and method that you used in computing
your damages, the amounts of each category of damages sought (e.g., emotional distress, mental
pain and suffering, back pay, or other damages alleged in your Complaint).

       RESPONSE: RESPONSE: Plaintiff objects to this interrogatory on the grounds that
       it is vague and ambiguous in requesting information regarding “each item of expense
       or damage” claimed by Plaintiff. Plaintiff further objects to interrogatory on the
       grounds that it improperly requests the “method you used in computing your
       damages,” as damages are a question to be determined by a jury. Notwithstanding
       and without waiving these objections, Plaintiff understands the non-objectionable
       portion of this interrogatory to seek the nature and amount of Plaintiff’s claimed
       damages. In response, Plaintiff states as follows:

           1. Lost Wages: At the time of his unlawful termination on or around November
              6, 2023, Plaintiff worked 40 regular hours per week at a rate of pay of $23.00
              per hour and 20 overtime hour per week at a rate of pay of $34.50 per hour.
              Plaintiff estimates he is owed approximately $118.83 in regular pay for every
              week he worked ($118.83 x 30 weeks = $3,565.00) and approximately $444.48
              in overtime pay for every week he worked ($444.48 x 30 weeks = $13,334.40).

               Despite best and continued efforts, Plaintiff was unable to secure permanent
               employment, following the termination of his employment with Defendant,
               until he began working for The Rios Group on or around March 8, 2024.


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          Plaintiff is seeking lost wages for this approximately seventeen-week period of
          unemployment. Plaintiff estimates this amount to be approximately
          $27,370.00. This amount is calculated as follows: [$920 regular pay per week
          + $690 overtime pay per week] x 17 weeks.

          Plaintiff is also seeking lost wages for the difference in income between his
          employment with The Rios Group, and the income he would have generated
          from his employment with Defendant but for his unlawful termination.
          Plaintiff worked an approximate average of 40 regular hours per week paid at
          $17.00 per hour, during his employment with The Rios Group. Plaintiff made
          $6.00 less per hour in his role at The Rios Group than in his role with
          Defendant. Throughout his tenure he worked approximately 1,295.5 non-
          overtime hours for The Rios Group, resulting in a loss of approximately
          $7,773.00.

          Between approximately November 12, 2024 and approximately December 3,
          2024, Plaintiff was employed by Energy Construction Solutions Inc. (“ECS”).
          Despite best and continued efforts, Plaintiff was unable to secure permanent
          employment, following his ECS layoff, until he began working for his current
          employer, J.B. Hunt Transport Inc., on or around January 13, 2025. Plaintiff
          is seeking lost wages for this approximately six-week period of unemployment.
          Plaintiff estimates this amount to be approximately $9,660.00. This amount is
          calculated as follows: [$920 regular pay per week + $690 overtime pay per
          week] x 6 weeks.

          To date, Plaintiff’s total lost wages equal approximately $61,702.40. Plaintiff
          reserves the right to seek lost wages up until the date of trial. Plaintiff also
          reserves the right to seek reinstatement and/or front pay, as well as any other
          equitable remedy available.

       2. Plaintiff claims liquidated damages in an amount equal to his economic losses
          on account of Defendant’s willful conduct.

       3. Plaintiff claims emotional distress damages in the amount of $2,000,000.00.
          This amount reflects damages that a jury might award based on the severe
          emotional distress Plaintiff has suffered as a result of the Defendant’s conduct.

       4. Plaintiff claims punitive damages in the amount of $4,000,000.00. This amount
          reflects damages that a jury might award based on the Plaintiff’s experiences
          and the Defendant’s willful conduct.

       5. Plaintiff will also seek attorney’s fees as a prevailing party.

    Plaintiff reserves the right to supplement/amend this response as more information
    becomes available and as may be appropriate and necessary.




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INTERROGATORY NO. 15:
State whether you have ever been a party to or testified under oath in any legal proceeding,
including, but not limited to, a civil lawsuit, administrative proceeding, divorce, bankruptcy,
criminal proceeding, arbitration, trial, or deposition. If the answer is in the affirmative, separately
state in detail the caption, court and docket number in the action; the name, telephone number and
address of the parties in any such proceedings; the location in which the action was venued or
conducted; the name, telephone number and address of all attorneys representing the parties in any
such legal proceedings; whether you gave testimony under oath (deposition, trial testimony,
hearing testimony, affidavit) and the general subject matter and outcome of any such legal
proceeding.

       RESPONSE: Plaintiff objects to this interrogatory on the grounds it is overbroad and
       not properly limited in time and scope in requesting Plaintiff identify the legal
       proceedings to which he has been a party or in which he has testified under oath,
       without limitations on time frame or subject matter. Plaintiff further objects to this
       interrogatory on the grounds that it seeks multiple categories of information not
       relevant to the claims or defenses of the parties. Notwithstanding these objections and
       without waiving them, Plaintiff has limited his response to the identification of the
       legal proceedings, if any, dating from April 2023 to which he has been a party or in
       which he has testified under oath. In response, Plaintiff states that, besides the instant
       lawsuit and the related Charge of Discrimination identified by EEOC Charge No.
       511-2024-01202, Plaintiff has not been a party to or testified in any legal proceeding
       as of April 2023, except the legal proceeding related to his daughter’s
       conservatorship.


INTERROGATORY NO. 16:
Other than the present case, please identify any and all charges, lawsuits, administrative claims,
internal investigations, claims, or allegations regarding discrimination, harassment, retaliation,
wrongful termination, unemployment compensation, unfair employment practices, unpaid wages,
and/or unlawful employment practices against any employer or former employer in which you
have been involved (either as the complainant or a witness), providing for each instance, the name
of the employer, the substance of the allegations made, the date of each claim, the State, County,
and case number of any litigation or charge, if applicable, along with the disposition of same.

       RESPONSE: None.


INTERROGATORY NO. 17:
State whether you have ever been arrested, charged with or convicted of a crime. If so, state the
nature of the alleged crime, the jurisdiction in which you were arrested, charged and/or convicted,
the date of the arrest, charge and/or conviction, and the outcome of the case.

       RESPONSE: Plaintiff objects to this interrogatory on the grounds it is overbroad and
       not properly limited in time and scope. Notwithstanding these objections and without



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       waiving them, Plaintiff has limited his response to the identification of arrests,
       charges, and convictions, if any, dating from February 2023 to the present, that have
       involved the Plaintiff. In response, Plaintiff states that he has not been arrested,
       charged with, or convicted of a crime as of February 2023.


INTERROGATORY NO. 18:
Identify any social worker, counselor, priest, minister, preacher, or other person with whom
Plaintiff has sought and/or is currently seeking treatment for emotional distress, mental pain and
suffering, or mental anguish in the past ten (10) years.

       RESPONSE: Plaintiff objects to this interrogatory on the grounds it is overbroad and
       not properly limited in time and scope. Notwithstanding this objection and without
       waiving it, Plaintiff understands the non-objectionable portion of this request to seek
       the identification of any social worker, counselor, priest, minister, preacher, or other
       person with whom Plaintiff has sought and/or is currently seeking treatment for
       emotional distress, mental pain and suffering, or mental anguish in the past five (5)
       years. In response, Plaintiff states none.


INTERROGATORY NO. 19:
If you have been temporarily or permanently unable to work due to a health condition at any time
within the past year, identify the date(s), the health condition(s), and any healthcare treatment
sought in connection with the condition, including the name(s) of the healthcare provider and the
dates of treatment.

       RESPONSE: Plaintiff has not been temporarily or permanently unable to work due
       to a health condition at any time within the past year.


INTERROGATORY NO. 20:
Have you ever posted or responded to any website, web page, blog, chat board, chat room, Social
Site, Social Network Site, or similar computer-based service in a manner that relates to, or
otherwise references, (1) Defendant, (2) your employment with Defendant, (3) the allegations set
forth in your Complaint in this litigation, or (4) any employee or former employee of Defendant?
If so, please provide the name of the computer-based service; the URL or web address for the
computer-based service; the date(s) you posted or responded; and a detailed description of the
nature of each posting or response.

       RESPONSE: Plaintiff objects to this interrogatory as any interrogatories related to
       his publications on a website, web page, blog, chat board, chat room, Social Site,
       Social Network Site, or similar computer-based service bear no relevance to the
       claims or defenses of the parties, are unduly invasive and harassing, and not
       proportional to the needs of the case. Plaintiff further objects to this interrogatory on
       the grounds that it is vague and ambiguous in its use of the terms “chat board,”




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       “Social Site,” and “Social Network Site,” as it is unclear what platforms or websites
       are included within these terms.


INTERROGATORY NO. 21:
Identify separately all documents to which you referred, reviewed or relied upon in answering or
that in any way assisted you in answering, any of these Interrogatories.

       RESPONSE: None.




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                                       VERIFICATION
       Pursuant to 28 U.S.C. § 1746, I, ALONZO HAWKINS, declare under penalty of perjury

that the foregoing answers to Defendant’s First Set of Interrogatories to Plaintiff Alonzo Hawkins

are true and correct to the best of my knowledge and belief.



                02 / 17 / 2025
Executed on ____________________.


                                                    __________________________________
                                                    ALONZO HAWKINS




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing document is being

served on February 17, 2025, on all counsel of record on the service list below via electronic mail.


                                                             /s/ Daniel J. Barroukh
                                                             Daniel J. Barroukh, Esq.



                                         SERVICE LIST

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